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UNITED STATES DlSTR|CT COURT
WESTERN DlSTR|CT OF TENNESSEE
MEMPH|S DlVlSlON

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_v_ 2:04cR20311-06-Ml W‘D- OF m ties-rims

DEANDREA ROB|NSON
Mark Saripkin. Retained
Defense Attorney
140 North Third Street
Memphis, TN 38103

 

JUDGMENT lN A CRlNllNAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Countst 6, 32 and 40 of the indictment on iVlarch 10, 2005.
Accordingiy, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Titie & section MLMS£ offense M_Qelt§i
Conc|uded
18 U.S.C. § 1343 Wire Fraud 05/17!2002 16
18 U.S.C. § 641 Embezz|ement 05/17/2002 32
18 U.S.C. § 1957 Engaging in illegal Nionetary 05/20/2002 40

Transactions

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the i\/|andatory
Victims Restitution Act of 1996.

Counts 1, 2 and 46 are dismissed on the motion of the United States.
|T IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days ofany change of name, residence, or mailing address until ali fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 09/1‘11'1979 June 3, 2005
Deft’s U.S. iViarshai No.: 19807-076

Defendant’s Maiiing Address:

6678 Red Biroh Drive
rvlemphis, TN 33115 /%Fm( l
J N PH|PPS MCCALLA
U |TED 3 ATES DlSTR|CT JUDGE
June (ON

'\‘his document entered on the docket sheet in compliance l 2005

with Rtll€ 55 andloi' 32(b) FFlCrP on "' "

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PROBAT|ON

The defendant is hereby placed on probation for a term of 3 Years as to Count 16;
3 ¥ears as to Count 32; and 3 Vears as to Count 40. Each count is to be supervised
concurrently with each other for a total period of supervision of 3 Years.

Whiie on probation, the defendant shall not commit another federa|, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth beiow). if this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1_ The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, usel

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed. or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation oft"lcer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminai Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall participate in the Home Detention program for a period of 4 Months.
During this time, defendant will remain at defendants place of residence except for
employment and other activities approved in advance by the Defendant’s Probation Officer.
Defendant will be subject to the standard conditions of Home Detention adopted for use in
the Western District of Tennessee, which may include the requirement to wear an electronic
monitoring device and to follow electronic monitoring procedures specified bythe Probation
Officer. Further, the defendant shall be required to contribute to the costs of services for
such monitoring not to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall make full financial disclosure

3. The defendant is prohibited from incurring new credit charges, opening additional lines of
creditor making an obligation for any major purchase without prior approval of the Probation
Officer.

4. The defendant shall cooperate with DNA collection as directed by the Probation Office.

CRlMlNAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in the Schedule of Payments. The defendant shall pay interest on any fine
or restitution of more than $2,500, unless the fine or restitution is paid in full before the fifteenth day after
the date of judgment, pursuant to 18 U.S.C. § 3612(f). Aii of the payment options in the Schedule of
Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Tota| Assessment Total Fine *Total Restitution
$300.00 $32,065.00

The Speciai Assessment shall be due immediately

*Restitution is to be paid joint and several with co-defendants Teresa Flemingl Lorray

Broden. isiah Hank Conwav. Benita Roqers and Vencel Martin Robinson in case
2:04CR20311-Mi.

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FlNE
No fine imposed.
*REST|TUT|ON

Restitution in the amount of *§32,065.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed beiow.

Priority
Totai Amount of Order
Name of pa}[ee Amount Restitution Ordered or
of Loss Percentage
of Payment

internal Revenue Service, $32,065.00 $32,065.00
FDC P.O. BOX 30309,

AN|F-Stop 831

i\/lemphis, TN 38130

RE: Teresa Fieming & Lorray

Broden case,

Case No. 2:04CR20311

*Restitution is to be paid joint and several with co-defendants Teresa Fieming, Lorray

Broden, isiah Hank Conwayl Benita Rogers and Vencei Niartin Robinson in case

2:04CR20311-Ml.

lfthe defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same uniess,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as foilows:

E. Speciai instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution is regular monthly installments of not less than
10% of gross monthly income.

Uniess the court has expressly ordered otherwise in the special instmctions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment Ali criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibiiity Program, are made to the clerk of the
court, unless othenivise directed by the court, the probation officer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

   

UNITED `SATES DlSTch COURT - WESTERN DSRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 169 in
case 2:04-CR-20311 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

